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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

EASTERN DIVISION
JOHNNY BANKS PLAINTIFF
Vv. CASE NO. 4:18CV00259BSM
SHELBY HAWKINS; CITY OF
SHANNON HILLS DEFENDANTS

DEFENDANT SHELBY HAWKINS’S NOTICE OF INTERLOCUTORY APPEAL

COMES, Defendant Shelby Hawkins, by and through counsel, Sara Monaghan, and for his
Notice of Appeal, state:

Notice is hereby given that Defendant Shelby Hawkins, hereby appeals to the United States
Circuit Court of Appeals for the Eighth Circuit from the Order entered in this matter on the 26"
day of September, 2019, granting in part and denying in part Defendants’ Motion for Summary
Judgment, which was premised upon, amongst other defenses, qualified immunity as to Plaintiff's
federal excessive force claim. This appeal is taken pursuant to Mitchell v Forsyth, 472 U.S. 511
(1985) and Ashcroft v. Iqbal, 556 U.S. 662, 671 (2009), which allows for the taking of an
interlocutory appeal after denial of motion for summary judgment premised on, inter alia, qualified
immunity.

Respectfully submitted,

Dy ABs, M vTLoOS f WAL
SARA MONAGHAN

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